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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

DAMIEN STEELE, et al..
Plaintiffs,

vs. Civ. No. 05-2138-B[P

RITE AID CORPORATION, et al.,

Defendants.

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ORDER DENYING WITHOUT PREJUDICE PLAINTIFF'S MOTION TO WITHDRAW

 

Before the court is plaintiff’s Motion to Withdraw, filed May
27, 2005. A review of the record shows that plaintiff did not
comply with Local Rule 83.l(h) which states that

no attorney of record may withdraw in any case
except on written motion and court order. All
motions for leave to withdraw shall include
the reasons requiring withdrawal and the name
and address of any substitute counsel. If the
name of substitute counsel is not known, the
motion shall set forth the name, address and
telephone number of the client, as well as the
signature of the client approving the
withdrawal or a certificate of service on the
client. Ordinarily, withdrawal will not be
allowed if withdrawal will delay the trial of
the action.

Thte document entered on the docket sheet tn comptlance
with Ru|e 58 and/or 79(3) FP.CP on

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Therefore, plaintiff's motion is DENIED, without prejudice. The

plaintiff may renew his motion by complying with Local Rule

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TI)’I\T. i$HAM
United States Magistrate Judge

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Date

83.1(h).

IT IS SO ORDERED.

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02138 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

Michael G. Floyd

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i\/lemphis7 TN 38116

Honorable J. Breen
US DISTRICT COURT

